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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                             The Honorable Michael E. Romero


 In re:
                                                  Case No. 23-15959 MER
 COMSERO, INC.
                                                  Chapter 11
          Debtor(s).

                             NOTICE OF PRELIMINARY HEARING

           PLEASE TAKE NOTICE that the following matter has been set for a telephonic
preliminary hearing before the Honorable Michael E. Romero to be held on a trailing docket on
Monday, April 01, 2024, at 1:30 p.m. Your matter has been set for a non-evidentiary hearing
of not more than fifteen (15) minutes. If the matter to be heard will exceed 15 minutes in length,
or if it is necessary to receive evidence to resolve the matter, the scheduled hearing will be used
as a scheduling conference and the matter will be reset to a later date.

         All information regarding telephonic appearances, including the phone number, is
available on the Court’s website at:
 https://www.cob.uscourts.gov/content/judge-michael-e-romero-mer.

        The matter set is: Debtor's Application to Employ and Compensate New Mill Capital
Holdings, LLC, as Auctioneer for the Trustee and to Sell Assets and the objection filed by Old
Vine - Pinnacle Associates, LLC, et al.

       NOTICE IS FURTHER GIVEN that in the event the matter is resolved, the hearing shall
be vacated only upon (1) receipt of a stipulation or agreement of the parties no later than the
day before the scheduled hearing, or (2) appearance by at least one of the parties at the
hearing, in person or via telephone, who shall read the agreement into the record.

DATED March 4, 2024                          BY ORDER OF THE COURT:

                                             KENNETH S. GARDNER, CLERK

                                             By: Deborah L. Beatty, Deputy Clerk
                                                 United States Bankruptcy Court
                                                 U.S. Custom House
                                                 721 19th Street
                                                 Denver, Colorado 80202-2508
